USCA4 Appeal: 24-1513      Doc: 17         Filed: 08/26/2024    Pg: 1 of 2




                                            UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                              No. 24-1513


        In re: AKIL DORSEY, a/k/a Thomas Michael Reed, a/k/a Kil Dorsey,

                            Petitioner.



        On Petition for Writ of Mandamus to the United States District Court for the District of
        Maryland, at Greenbelt. (8:07-cr-00404-PJM-1; 8:16-cv-01673-PJM)


        Submitted: August 22, 2024                                        Decided: August 26, 2024


        Before WILKINSON, WYNN, and RICHARDSON, Circuit Judges.


        Petition denied by unpublished per curiam opinion.


        Akil Dorsey, Petitioner Pro Se.


        Unpublished opinions are not binding precedent in this circuit.
USCA4 Appeal: 24-1513      Doc: 17         Filed: 08/26/2024     Pg: 2 of 2




        PER CURIAM:

               Akil Dorsey petitions for a writ of mandamus, alleging that the district court has

        unduly delayed in ruling on his 28 U.S.C. § 2255 motion. Dorsey seeks an order from this

        court directing the district court to act. However, upon review, the present record does not

        reveal undue delay in the district court. Accordingly, we deny the mandamus petition. We

        dispense with oral argument because the facts and legal contentions are adequately

        presented in the materials before this court and argument would not aid the decisional

        process.

                                                                              PETITION DENIED




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